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     BLUME, FORTE, FRIED, ZERRES & MoJ.inari
     HARRIS S. FELDMAN, ESQ. ID No.
     A Professional Corporation
     One Main Street
     Chatham, New Jersey 07928
     Attorneys for Plaintiffs


                                      UNITED STATES DISTRICT COURT

                                            DISTRICT OF NEW JERSEY


     MARITZA RODRIGUEZ

                                                    Civil Action
                  Plaintiff(s),

                                                    No.   2:16-cv-09338-MCA-SCM
                          vs.

                                                                    ORDER
     WALMART, WALMART INC.,
     WALMART STORES, INC.,WALMART
     STORES EAST, INC., WALMART
     STORES EAST, LP improperly
     pled as WALMART STORES EAST
     I, LP, WALMART PROPERTIES,
     INC., WALMART REALTY CO.,
     WALMART SUPERCENTER OF NORTH
     BERGEN STORE #3795, WILLY
     SALMIENTO, JOHN DOE 2-10,
     JOHN DOE, INC. 1-10, ABC
     CORPORATION 1-10, JANE DOE
     1-10, JANE DOE INC. 1-10,
     and DEF CORPORATION 1-10.

             Defendant(s).




           This    matter       having   been     opened     to    the     Court   by   Harris     S.

      Feldman,    Esq.    of    the   law    firm   Blume,        Forte,    Fried,      Zerres    and

      Molinari    P.C.,   attorneys         for   Plaintiff,       Maritza    Rodriguez      on    an

      application for an Order to remand the case to State Court in light

      of newly added non-diverse parties, and the Court having considered
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     the   joint     request          and   consent    of   the         parties     of      record and           for

     good cause shown,


           It is on this                      day of                6’’,2O18,


           ORDERED,      that the United States                     District Court Civil Action

     Number     2:16-cv—09338—MCA—SCM                  entitled           Maritza           Rodriguez            vs.

     Walmart,       et al.,   be remanded to the Superior Court of New Jersey,

     Law Division,       Hudson County;


           IT IS ON this                       day of/”
                                                   1                            2Ol8
                                                                                                             /
           ORDERED      that          i\matter         be   and ,eeby             is       remandedJto           the
                                      7                             7      \,                            /
     Supe Court of ew Jery,                           Law DigLsion, \udson Count/.
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           A cop’of this order shal\be erved on                                 a1         counl within
                              /                             I                          N     /

                          days of the date hereof.
                                                                                                     N
                                                                                                     )
                                                                    I
                                                      HON. MALINE ARLEO COU.S.E,.J.
